                Case 21-50241-CTG            Doc 31      Filed 09/26/22       Page 1 of 4




                              UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF DELAWARE

                                            )
    In re                                   )               Chapter 7
                                            )
    START MAN FURNITURE, et al., 1          )               Case No. 20-10553-CTG
                                            )
                  Debtor.                   )
    ______________________________________ )
                                            )
    PNC Bank, National Association, and PNC )
    Merchant Services Company,              )               Adv. Pro. No. 21-50241-CTG
                                            )
                                            )               Related to Doc. No. 29
                  Plaintiffs,               )
    v.                                      )
                                            )
    Start Man Furniture LLC, et al.,        )
                                            )
                  Defendants.               )


                                SCHEDULING/PRETRIAL ORDER

                To promote the efficient and expeditious disposition of adversary proceedings, the

following schedule shall apply to the above-captioned adversary proceeding.

                IT IS HEREBY ORDERED that:

                1.       The discovery planning conference described in Fed. R. Civ. P. 26(f),

made applicable by Fed. R. Bankr. P. 7026, shall be deemed to have taken place; provided,




1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, include: Start Man Furniture, LLC (9205); SVF Holding Company, Inc. (0291); SVCE, LLC
(2509); StartVF Holdings I, LLC (2537); StartVF Holdings II, LLC (7472); SVF Parent, LLC (3451); Levin Parent,
LLC (8052); Start Man Furniture of Canada, LLC (9491); SV Sleep Franchising, LLC (8968); SVF Franchising,
LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location of
the Debtors’ service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.
              Case 21-50241-CTG          Doc 31     Filed 09/26/22     Page 2 of 4




however, that the parties each reserve their rights regarding issues concerning electronic

discovery.

              2.      The parties having previously completed mediation, the above-captioned

adversary proceeding is not assigned to mediation pursuant to Local Rule 9019-5.

               3.     The deadline for Alfred T. Guiliano, Chapter 7 Trustee in the above

captioned matters to respond to Plaintiffs’ Motion for Allowance and Payment of Chapter 11

Administrative Expense Claim [Case No. 20-10553, Docket No. 1189] (the “Motion”) shall be

October 31, 2022 (the “Response Deadline”) so the Plaintiffs and Trustee may continue to

attempt to resolve the Motion.

               4.     The parties shall provide the initial disclosures under Fed. R. Civ.

P. 26(a)(1) no later than thirty-five (35) days after the Response Deadline. Any extension of the

deadline to provide initial disclosures may be made by agreement of the parties or by Order of

the Court for good cause shown.

              5.      All fact discovery shall be completed no later than one hundred fifty (150)

days after the Response Deadline.

              6.      Any expert report required pursuant to Federal Rule of Civil Procedure

26(a)(2)(B) shall be served by the respective party offering such expert report no later than one

hundred seventy-five (175) days after the Response Deadline.          Any party’s expert report

intended to rebut any other expert report, including any other expert reports that may be filed

earlier than the deadlines established in this subparagraph, shall be provided no later than sixty

(60) days after the report being rebutted, provided, however, that in no event shall the sixty (60)



                                                2
               Case 21-50241-CTG          Doc 31      Filed 09/26/22     Page 3 of 4




day period start prior to one hundred twenty (120) days after the Response Deadline. All reports

shall provide the information required by Fed.R.Civ.P. 26(a)(2)(B). All expert discovery shall be

completed no later than two hundred seventy (270) days after the Response Deadline.

               7.      All dispositive motions shall be filed and served by not later than thirty-

five (35) days after the close of all discovery and shall be subject to Rule 7007-1 of the Local

Rules.

               8.      As soon as is feasible after the close of all discovery, the Plaintiffs shall

contact the Court to schedule a final pretrial conference in accordance with Local Rule

7016-2(a).

               9.      The Plaintiffs shall immediately notify Chambers upon the settlement,

dismissal, or other resolution of any adversary proceeding subject to this Order and shall file

with the Court appropriate evidence of such resolution as soon thereafter as is feasible. The

Plaintiffs shall file a status report sixty (60) days after the date of this Scheduling Order, each

sixty (60) days thereafter, and thirty (30), twenty (20), and ten (10) days prior to trial, setting out

the status of each unresolved adversary proceeding subject to this Order.             Plaintiffs shall

immediately advise Chambers, in writing, of any occurrence or circumstance which Plaintiffs

believes may suggest or necessitate the adjournment or other modification of the trial setting.

               10.     Deadlines contained in this Scheduling Order may be extended by written

agreement of the parties or upon written motion or stipulation for cause shown.




                                                  3
             Case 21-50241-CTG        Doc 31     Filed 09/26/22   Page 4 of 4




              11.    The Plaintiffs shall serve this Scheduling Order on the Defendant in the

above-captioned adversary proceedings within five (5) business days after the entry of this

Order.




   Dated: September 26th, 2022         CRAIG T. GOLDBLATT
   Wilmington, Delaware                UNITED STATES BANKRUPTCY JUDGE




                                             4
